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 5   Attorneys for Defendant, Irma Silva Nunez

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 9                            IN THE UNITED STATES DISTRICT COURT

10                     IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA

11   UNITED STATES OF AMERICA,                 )
12
                                               )                Case No.: 2:14-CR-00245-KJM-2
                       Plaintiff,              )
13                                             )
                  v.                           )                STIPULATION AND [PROPOSED]
14                                             )                ORDER TO RELEASE
15
     IRMA SILVA NUNEZ,                         )                DEFENDANT’S PASSPORT FOR
                                               )                TRAVEL
16                     Defendant.              )
                                               )                Court: Hon. Deborah Barnes
17
     __________________________________________)
18
            Defendant, Irma Silva Nunez, through her counsel of record, Michael M. Rooney and
19
     Odeh E. Hijazeen, and Plaintiff United States of America, through its respective counsel,
20

21   stipulate that Sacramento Pre-trial Services return Defendant’s passport to her for the limited

22   purpose of travel to the Country of Mexico.
23
            Ms. Irma Silva Nunez informed the United States of America of her desire to travel to the
24
     County of Mexico from January 20, 2017 through February 20, 2017.
25
            The parties stipulate that Sacramento Pre-trial Services be directed to release Ms. Irma
26

27   Silva Nunez’s passport before January 20, 2017. Additionally, the parties stipulate that Ms. Irma

28   Silva Nunez will return her passport to Sacramento Pre-trial Services upon her return to the


                                                1
           STIPULATION AND [PROPOSED] ORDER TO RELEASE DEFENDANT’S PASSPORT FOR TRAVEL
              Case 2:14-cr-00245-KJM Document 118 Filed 01/13/17 Page 2 of 3


     United States of America; Ms. Irma Silva Nunez is ordered to report to Fresno Pre-trial Services,
 1

 2   at their discretion, upon her return to the United States of America.

 3

 4                                                        /s/ Odeh Hijazeen
 5
     Dated: January 11, 2017                           _______________________________________
                                                       ODEH E. HIJAZEEN
 6                                                     Attorney for Defendant, Irma Silva Nunez
 7

 8
                                                          /s/ OEH for Samuel Wong
 9   Dated: January 11, 2017                           _______________________________________
                                                       SAMUEL WONG
10
                                                       Assistant United States Attorney
11                                                     Attorney for Plaintiff, United States of America

12
     Dated: January 13, 2017
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           STIPULATION AND [PROPOSED] ORDER TO RELEASE DEFENDANT’S PASSPORT FOR TRAVEL
              Case 2:14-cr-00245-KJM Document 118 Filed 01/13/17 Page 3 of 3



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 3
                                                    ORDER
 4
           The Court, having received and considered the parties’ stipulation, and good cause
 5
     appearing therefore, adopts the parties’ stipulation in its entirety as its order.
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     Dated: January 13, 2017                                ____________________________________
 9                                                           DEBORAH BARNES
                                                             UNITED STATES MAGISTRATE JUDGE
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            STIPULATION AND [PROPOSED] ORDER TO RELEASE DEFENDANT’S PASSPORT FOR TRAVEL
